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 9
10                           IN THE UNITED STATES DISTRICT COURT
11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,           )               No. CR 05-00641-RMW
13                                       )
                         Plaintiff,      )
14                                       )               STIPULATION AND ORDER
                 v.                      )               CONTINUING STATUS CONFERENCE
15                                       )               AND EXCLUDING TIME
     YE TENG WEN,                        )
16         aka Michael Wen, and          )
     HAO HE,                             )
17         aka Kevin He,                 )
                                         )
18                       Defendants.     )
     ____________________________________)
19
20          The United States of America, by and through Assistant U.S. Attorneys Mark L.
21   Krotoski, and Matthew A. Lamberti, and defendant Ye Teng Wen, by and through defense
22   counsel Vicki Young, and defendant Hao He, by and through defense counsel Richard Pointer,
23   hereby AGREE AND STIPULATE to continue the status conference set for February 13, 2006 at
24   9:00 a.m. to February 27, 2006 at 9:00 a.m. The parties further AGREE AND STIPULATE that
25   time should be excluded from February 13, 2006 to February 27, 2006, for continuity of counsel
26   and to provide counsel reasonable time to prepare, pursuant to the Speedy Trial Act, 18 U.S.C. §
27
     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE AND EXCLUDING TIM E
28   CR 05-00641-RM W
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 1   3161(h)(8)(A) and (B)(iv). In particular, in this copyright infringement case, the discovery
 2   already provided and made available involves numerous recorded conversations and boxes of
 3   seized materials and documents requiring extensive review. The defense counsel need additional
 4   time to listen to the recorded conversations and review other evidence. The parties are also
 5   discussing possible resolution in this case and need time to address sentencing valuation issues.
 6   Accordingly, the United States and the defendants agree that granting the requested exclusion of
 7   time under the Speedy Trial Act will serve the interests of justice and outweigh the interests of
 8   the public and defendant in a speedy trial.
 9   DATED: February __, 2006                      KEVIN V. RYAN
                                                   United States Attorney
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11
                                                   MARK L. KROTOSKI
12                                                 MATTHEW A. LAMBERTI
                                                   Assistant U.S. Attorney
13
14   DATED: February __, 2006
                                                   VICKI YOUNG
15                                                 Counsel for Defendant Ye Teng Wen
16
17   DATED: February __, 2006
                                                   RICHARD POINTER
18                                                 Counsel for Defendant Hao He
19                                         ORDER
20      In light of the parties’ agreement to exclude time, and based upon the demonstrated need for
21   excludable time set forth above, IT IS HEREBY ORDERED THAT: (1) the status conference set
22   for February 13, 2006 at 9:00 a.m. is continued to February 27, 2006 at 9:00 a.m.; and (2) the
23   period from February 13, 2006 through and including February 27, 2006, shall be excluded from
24   all Speedy Trial Act calculations pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv).
25          IT IS SO ORDERED.
26                   8 2006
     DATED: February __,                            /S/ RONALD M. WHYTE
                                                   ______________________________________
                                                   HON. RONALD M. WHYTE
27                                                 United States District Court Judge
28



     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE AND EXCLUDING TIM E
     CR 05-00641-RM W
